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 5                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7 UNITED STATES OF AMERICA,                           )
                                                       )
 8                            Plaintiff,               )    Case No. CR09-84 MJP
                                                       )
 9         v.                                          )
                                                       )    DETENTION ORDER
10 VICTOR KOBZAR ,                                     )
                                                       )
11                            Defendant.               )
                                                       )
12
     Offenses charged:
13
           Conspiracy to Commit Bank, Mail, and Wire Fraud.
14         Bank Fraud.
           Mail Fraud.
15
           Wire Fraud.
16         False Statements on Loan Applications.
           Monetary Transactions using Criminally Derived Property.
17         Forfeiture Allegation.

18    Date of Detention Hearing: March 31, 2009.

19         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

20    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21    that no condition or combination of conditions which the defendant can meet will reasonably

22    assure the appearance of the defendant as required and the safety of any other person and the

23    community.



     DETENTION ORDER -1
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 1          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2          Defendant is charged with crimes spanning over three years and involving millions of

 3    dollars. The government proffered that defendant and his co-defendants have transferred large

 4    sums of money recently. Specifically, on May 27, 2008, defendant opened a bank account;

 5    $5,171,429 was deposited and $4,100,000 was withdrawn. He is the sole account holder of this

 6    account. Cash withdrawals totaling $2,644,890 were made. Where this money went is unknown.

 7    The defense contended defendant has no money and that most of the money went to the co-

 8    defendants. But this is not supported by the proffer made by the government regarding its

 9    investigation of defendant’s assets and bank accounts. The government also proffered that

10    defendant is proficient at making fake loan documents and tax returns and has the ability to make

11    fake travel documents.

12          It is therefore ORDERED:

13          (1)    Defendant shall be detained pending trial and committed to the custody of the

14    Attorney General for confinement in a correctional facility separate, to the extent practicable,

15    from persons awaiting or serving sentences, or being held in custody pending appeal;

16          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

17    counsel;

18          (3)    On order of a court of the United States or on request of an attorney for the

19    Government, the person in charge of the correctional facility in which Defendant is confined shall

20    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

21    with a court proceeding; and

22          (4)    The clerk shall direct copies of this order to counsel for the United States, to counsel

23    ///



     DETENTION ORDER -2
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 1    for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

 2         DATED this 31st day of March, 2009.

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 4                                                        A
                                                          BRIAN A. TSUCHIDA
 5                                                        United States Magistrate Judge

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     DETENTION ORDER -3
